Case 1:22-cr-00388-BMC-SJB Document 10 Filed 08/24/22 Page 1 of 4 PageID #: 52

                                                                        FILED
                                                                  IN CLERK'S OFFICE
                                                                  US DISTRICT COURT E.D.N.Y.
  MEF:GMR                                                         * AUGUST 24 2022 *
  F. #2022R00612                                                  BROOKLYN OFFICE

  LI'NITED STATES DISTzuCT COURT
  EASTERN DISTRICT OF NEW YORK
                                         X

  UNITED STATES OF AMEzuCA                                 INDICTMENT
         - against -                                       Cr. No. 22-CR-388
                                                           (T. 18, U.S.C., $$ 875(c),981(a)(1)(C),
  WILLIAM SWIFT,                                            2261A(2),2261(b)(5),2 and 3551 et
                                                            seq., T.21, U.S.C., $ 853(p), T.28,
                           Defendant.                       U.S.C., $ 2a6l(c))

                                         x                  COGAN , J.
                                                            BULSARA, M.J.
  THE GRAND JURY CHARGES:

                                             COLTNT ONE
                                 (Transmission of Threats to lnjure)

                 I   .   In or about and between February 2022 and June 2022, both dates being

  approximate and inclusive, within the Eastem District of New York and elsewhere, the defendant

  WILLIAM SWIFT did knowingly and intentionally transmit in interstate and foreign commerce

  one or more communications containing one or more threats to injure the person of another, to

  wit: communications threatening injury to Jane Doe, John Doe-1, John Doe-2, John Doe-3 and

  John Doe-4, individuals whose identities are known to the Grand Jury.

                 (Title 18, United States Code, Sections 875(c), 2 and 3551 et ggg.)

                                            COLINT TWO
                                         (Interstate Stalking)

                 2.      In or about and between February 2022 and June2022, both dates being

  approximate and inclusive, within the Eastem District of New York and elsewhere, the defendant

  WILLIAM SWIFT did knowingly, intentionally and with the intent to injure, harass and

  intimidate Jane Doe, use (i) one or more interactive computer services, electronic communication
Case 1:22-cr-00388-BMC-SJB Document 10 Filed 08/24/22 Page 2 of 4 PageID #: 53


                                                                                                        2


  services and electronic communication systems of interstate commerce, and (ii) one or more

  facilities of interstate commerce to engage in a course of conduct that caused, attempted to cause

  and would reasonably be expected to cause substantial emotional distress to Jane Doe.

                 (Title I 8, United States Code, Sections 2261 A(2),2261(b)(5),2 and 3551 et sgg.)

                                CRIMINAL FORT'EITURE ALLEGATION
                                        AS TO COUNT ONE

                 3.      The United States hereby gives notice to the defendant that, upon his

  conviction of the offense charged in Count One, the government will seek forfeiture in

  accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

  Code, Section 2461(c), which require any person convicted of such offense to forfeit any

  property, real or personal, constituting, or derived from, proceeds obtained directly or indirectly

  as a result ofsuch offense.

                 4.      If any of the above-described forfeitable property, as a result of any act or

  omission of the defendant:

                         (a)      cannot be located upon the exercise ofdue diligence;

                         (b)      has been transferred or sold to, or deposited with, a third party;

                         (c)      has been placed beyond the jurisdiction of the court;

                         (d)      has been substantially diminished in value; or

                         (e)      has been commingled with other property which cannot be divided

  without difficulty;
    Case 1:22-cr-00388-BMC-SJB Document 10 Filed 08/24/22 Page 3 of 4 PageID #: 54

t
                                                                                                            3



      it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

      seek forfeiture ofany other property ofthe defendant up to the value ofthe forfeitable property

      described in this forfeiture allegation.

                      (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States Code,

      Section 353(p); Title 28, United States Code, Section 2a6l@))




                                                                           A TRUE BILL




              BREON PEACE
              UNITED STATES ATTORNEY
              EASTERN DISTRICT OF NEW YORK

      By:     Cr,*Ury P"b.,rr+-
                  Case 1:22-cr-00388-BMC-SJB Document 10 Filed 08/24/22 Page 4 of 4 PageID #: 55


F.#: 2022R00612
FORM DBD.34                No.
JUN. 85


                                   UNITED STATES DISTRICT COURT
                                                 EASTERN District o/ NEW YORK

                                                         CRIMINAL DIVISION

                                          THE UNITED STATES OF'AMERICA
                                                                        vs.


                                                               WILLIAM SWIFT,
                                                                                                       Defendant.


                                                           INDICTMENT
                                (T. 1 8, U.S.C., $$ 875(c), 981(a)(1)(C),226t A(2), 2261 (b)(5), 2 and
                                    3551 et seq., T.21, U.S.C. $ 853(p), T.28, U.S.C., g 2a61(c))

                                 A true bill.


                                                                                                         Foreperson



                           Filed in open court this                            day,

                           of                         A.D,20


                                                                                                              Clerk



                           Bail, $



                                                Gilbert Rein, Assistant U.S. Attorney (718) 254-6407
